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                               Exhibit 93



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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United States of America (F. Don Thompson)                                   March 28, 2008
                                     Washington, DC

                                                                                   Page 1
                     UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

      - - - - - - - - - - - - - - -

      IN RE:    PHARMACEUTICAL         )    MDL NO. 1456

      INDUSTRY AVERAGE WHOLESALE       )    CIVIL ACTION

      PRICE LITIGATION                 )    01-CV-12257-PBS

      THIS DOCUMENT RELATES TO         )

      U.S. ex rel. Ven-a-Care of       )    Judge Patti B. Saris

      the Florida Keys, Inc.           )

           v.                          )    Chief Magistrate

      Abbott Laboratories, Inc.,       )    Judge Marianne B.

      No. 06-CV-11337-PBS              )    Bowler

      - - - - - - - - - - - - - - -

                (captions continue on following pages)



                                   Washington, D.C.

                                   Friday, March 28, 2008

                                   8:00 a.m.



      Videotaped deposition of F. DON THOMPSON as 30(b)(6)

            witness for the UNITED STATES OF AMERICA

                                 Volume I




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                                                                                  Page 2
  1
                IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
  2
                          IN AND FOR LEON COUNTY, FLORIDA
  3
         THE STATE OF FLORIDA
  4
         ex rel.
  5
         - - - - - - - - - - - - - - - - - -
  6
         VEN-A-CARE OF THE FLORIDA KEYS,                       )
  7
         INC., a Florida Corporation, by and )
  8
         through its principal officers and                    )
  9
         directors, ZACHARY T. BENTLEY and                     )
 10
         T. MARK JONES,                                        )
 11
                           Plaintiffs,                         ) Civil Action
 12
                vs.                                            ) No. 98-3032G
 13
         MYLAN LABORATORIES INC.; MYLAN                        )
 14
         PHARMACEUTICALS INC.; NOVOPHARM                       ) Judge William
 15
         LTD., SCHEIN PHARMACEUTICAL, INC.;                    ) L. Gary
 16
         TEVA PHARMACEUTICAL INDUSTRIES                        )
 17
         LTD.; TEVA PHARMACEUTICAL USA; and                    )
 18
         WATSON PHARMACEUTICALS, INC.,                         )
 19
                           DEFENDANTS.                         )
 20
         - - - - - - - - - - - - - - - - - -
 21

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                                                                                  Page 3
  1               Videotaped 30(b)(6) deposition of THE UNITED
  2     STATES OF AMERICA by F. DON THOMPSON, held at the
  3     law offices of Jones Day, 51 Louisiana Avenue, N.W.,
  4     Washington, D.C. 20001-2113, the proceedings being
  5     recorded stenographically by Jonathan Wonnell, a
  6     Registered Professional Court Reporter and Notary
  7     Public of the District of Columbia, and transcribed
  8     under his direction.
  9

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                                                                                Page 81
  1
         discussion? Do you recall?
  2
                 A.      I couldn't tell you, you know, verbatim
  3
         how the conversation went.                 My general
  4
         recollection would be that Rob was making the
  5
         points that had been raised in the Office of the
  6
         Inspector General reports.                 And the individual to
  7
         whom he was discussing this was essentially, my
  8
         recollection would be, arguing that in their
  9
         opinion what the OIG had found in its reports was
 10
         appropriate.
 11
                 Q.      Do you know whether AWP needs to be
 12
         better defined?
 13
                         MR. DRAYCOTT:          Objection.
 14
                 A.      Do I know whether AWP needs to be
 15
         better defined.            I don't really have a personal
 16
         opinion on that.
 17
                 Q.      Okay.      And so when Exhibit 381 has a
 18
         bullet point that states "AWP needs to be better
 19
         defined," you can neither confirm nor contradict
 20
         that assertion, correct?
 21
                         MR. DRAYCOTT:          Objection.
 22
                 A.      The context in which the phrase is

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                                                                                Page 82
  1
         being used here would influence my answer.
  2
                 Q.      How so?
  3
                 A.      What I'm thinking about is whether or
  4
         not it makes any difference in my answer if I'm
  5
         thinking about AWP in a regulatory rulemaking
  6
         context or if I'm thinking about it from a list
  7
         price in the compendia context.
  8
                 Q.      Could you explain the difference
  9
         between these two contexts?
 10
                 A.      The -- and again, I'm not operating
 11
         under a 30(b)(6)?
 12
                 Q.      Correct.
 13
                 A.      From a regulatory perspective, if you
 14
         look at the rulemaking documents -- so if you
 15
         examined the 1991 rulemaking cycle, and then also
 16
         the 1998 rulemaking cycle, the term AWP has a
 17
         plain language meaning.
 18
                 Q.      And to be clear, your personal
 19
         testimony there is that average wholesale price
 20
         in the 1991 regulations is referring to an
 21
         empirical average of wholesale prices?
 22
                         MR. DRAYCOTT:          Objection.

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                                                                                Page 83
  1
                 A.      I guess what I'm saying is that in the
  2
         context of the rulemaking documents, the word
  3
         average means average, the word wholesale means
  4
         wholesale and the word price means price.                            And
  5
         what I'm trying to think through is does my
  6
         answer change when I think about the list AWP in
  7
         the compendia.           And I think the answer to that
  8
         question is no.
  9
                         So if you could repeat your question, I
 10
         think I'm now prepared to answer it.
 11
                 Q.      Sure.      Does AWP need to be better
 12
         defined?
 13
                         MR. DRAYCOTT:          Objection.
 14
                 A.      My personal opinion?
 15
                 Q.      Yes.
 16
                 A.      No.
 17
                 Q.      Can you point me to a definition of
 18
         AWP?
 19
                         MR. DRAYCOTT:          Objection.
 20
                 A.      If you had a dictionary available.                          I
 21
         don't know if we do.
 22
                 Q.      So your testimony is that the

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